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 8
                                  UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA

10
     United States of America,                    Case No.: 1:15-CR-00319 LJO-SKO (008)
11
                  Plaintiff,
12                                                STIPULATION MODIFYING
         vs.                                      CONDITIONS OR RELEASE AND
13                                                ORDER
     Amador Faalaga,
14
                  Defendant.
15

16   To the parties, counsel, and the above-entitled court:
17      It is hereby stipulated between the Defendant, Amador Faalaga, by and through his
18   counsel, Nicco. Capozzi, and the Plaintiff, United States of America, by and through
19   Assistant United States Attorney Kathleen Servatius, that Defendant’s Conditions of Release
20   be modified to change his location monitoring from “Home Detention” to “Curfew.”
21
        The stipulation is also supported by Mr. Ryan Beckwith, United States Pretrial Services
22
     Officer.
23
         Dated:         October 3, 2016                /s/Nicco Capozzi
24                                                     Nicco Capozzi
                                                       Attorney for Defendant
25

26
        Dated:          October 3, 2016                /s/Kathleen Servatius
27
                                                       Kathleen Servatius
28                                                     Attorney for the United States
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 1
                                               ORDER

 2   It is hereby ordered that the following conditions be removed from Mr. Amador Faalaga’s
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     conditions of pre-trial release:
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 6      The defendant shall: participate in the following Location Monitoring
        component and abide by all the requirements of the program, which will
 7      include use of a location monitoring system. You shall comply with all
 8      instructions for use and operation of said devices as given to you by the
        Pretrial Services Agency and employees of the monitoring company. You
 9      shall pay all or part of the costs of the program based upon your ability to pay
10      as determined by the PSO. HOME DETENTION. You shall remain inside
        your residence at all times except for employment; education; religious
11      services; medical, substance abuse, or mental health treatment; attorney visits;
        court appearances; court ordered obligations; or other activities pre-approved
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        by the pretrial services officer.
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14
     It is hereby ordered that the following condition be added to Mr. Amador Faalaga’s
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     conditions of pre-trial release:
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18      You shall participate in the following location monitoring program
19      component and abide by all the requirements of the program, which will
        include having a location monitoring unit installed in your residence and a
20      radio frequency transmitter device attached to your person. You shall
21      comply with all instructions for the use and operation of said devices as
        given to you by the Pretrial Services Agency and employees of the
22      monitoring company. You shall pay all or part of the costs of the program
        based upon your ability to pay, as determined by the pretrial services officer;
23
        CURFEW: You shall remain inside your residence every day from 9:00 PM to
24      6:00 AM, or as adjusted by the pretrial services officer for medical, religious
        services, employment or Court-ordered obligations.
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           Case 1:15-cr-00319-TLN Document 83 Filed 10/04/16 Page 3 of 3


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     It is hereby ordered that all other pre-trial release conditions for defendant Amador

 2   Faalaga shall remain in full force and effect.
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     IT IS SO ORDERED.
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 6      Dated:    October 4, 2016                         /s/ Barbara A. McAuliffe           _
 7
                                                      UNITED STATES MAGISTRATE JUDGE

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